               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:08CR128

UNITED STATES OF AMERICA,                                       )
                                                         )
Vs.                                                      )              ORDER
                                                         )
GLENDA ALBRIGHT ADAMS.                                   )
__________________________________                              )

        THIS MATTER is before the court upon defendant’s Motion for Bond

Reconsideration.     As the undersigned advised in open court, there is nothing the

undersigned can do for defendant inasmuch as her remand to custody is mandated

by 18, United States Code, Section 3143(a)(2), which provides:

        (2)    The judicial officer shall order that a person who has been found
               guilty of an offense in a case described in subparagraph (A), (B),
               or (C) of subsection (f)(1) of section 3142 and is awaiting
               imposition or execution of sentence be detained unless—
               (A)
                      (i) the judicial officer finds there is a substantial likelihood
                      that a motion for acquittal or new trial will be granted; or
                      (ii) an attorney for the Government has recommended that
                      no sentence of imprisonment be imposed on the person;
                      and
               (B) the judicial officer finds by clear and convincing evidence
                      that the person is not likely to flee or pose a danger to any
                      other person or the community.

18 U.S.C. § 3143(a)(2). This provision provides that the court “shall” detain the



                                             -1-


      Case 1:08-cr-00128-MR-WCM             Document 176            Filed 03/04/09       Page 1 of 3
defendant. At this point, defendant’s remedy is found exclusively in 18, United States

Code, Section 3145(b)&(c), which provides as follows:

      (b) Review of a Detention Order.— If a person is ordered detained by
      a magistrate judge, or by a person other than a judge of a court having
      original jurisdiction over the offense and other than a Federal appellate
      court, the person may file, with the court having original jurisdiction over
      the offense, a motion for revocation or amendment of the order. The
      motion shall be determined promptly.

      (c) Appeal From a Release or Detention Order.— An appeal from
      a release or detention order, or from a decision denying revocation or
      amendment of such an order, is governed by the provisions of section
      1291 of title 28 and section 3731 of this title. The appeal shall be
      determined promptly. A person subject to detention pursuant to section
      3143 (a)(2) or (b)(2), and who meets the conditions of release set forth
      in section 3143 (a)(1) or (b)(1), may be ordered released, under
      appropriate conditions, by the judicial officer, if it is clearly shown that
      there are exceptional reasons why such person’s detention would not be
      appropriate.

18 U.S.C. § 3145(b)(&(c). The undersigned respectfully notes that a district judge has

been recently determined to be a “judicial officer” who can make the “exceptional

reasons” determination under Section 3145(c), while a magistrate judge has not yet

been included in that definition. United States v. Goforth, 546 F.3d 712 (4th Cir.

2008); United    States   v.   Vilaiphone,      2009   WL   412958    (Feb.   19,    2009

W.D.N.C.)(Reidinger, J., applying Goforth and finding no exceptional circumstance).




                                          -2-


   Case 1:08-cr-00128-MR-WCM           Document 176         Filed 03/04/09     Page 2 of 3
                                      ORDER

      IT IS, THEREFORE, ORDERED that defendant’s Motion for Bond

Reconsideration (#175) is DENIED without prejudice as to filing an appropriate

motion with the district court under Section 3145(b)&(c).




                                          Signed: March 3, 2009




                                         -3-


   Case 1:08-cr-00128-MR-WCM        Document 176      Filed 03/04/09   Page 3 of 3
